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                                                          FILED IN THE
CLARE. E . CONNORS #7936                         UNITED STATES DISTRICT COURT
                                                     DISTRICT 0F HAWAII
Un ited States Attorney
District of Hawaii                                          OCT 19 2023
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KENNETH SORENSON                                 11...   Lucy H. Carrillo, Clerk   __
Chief, Criminal Division

MICHAEL D. NAMMAR
W. KEAUPUNI AK.INA #1 1565
MARK A . INCIONG CA BAR # 163443
Assistant U .S. Attorneys
Room 6100, PJKK Federal Building
300 Ala Moana Blvd.
Honolulu, Hawaii 96850
Telephone: (808) 541-2850
Facsimile: (808) 541-2958
Emails: michael.nammar@ usdoj .gov
         keaupuni.akina@usdoj.gov
          marlcinciong@usdo j.gov

                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAW All

UNITED STATES OF AMERICA,              ) CR. NO. 23-00081 DKW
                                       )
                  Plaintiff,           )   MEMORANDUM OF PLEA
                                       )   AGREEMENT
      vs.                              )
                                       )   DATE: October 19, 2023
JARRIN K. YOUNG,                       )   TIME: 9 :00 a.m.
                                       )   JUDGE: Hon. Derrick K. Watson
                  Defendant.           )
__________ )

                MEMORANDUM OF PLEA AGREEMENT
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      Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the

UNITED STATES OF AMERICA, by its attorney, the United States Attorney for

the District of Hawaii, and the defendant, JARRIN K. YOUNG, and his attorney,

WILLIAM L. SHIPLEY, JR. Esq., have agreed upon the following:

                                  THE CHARGES

      1.    The defendant acknowledges that he has been charged in an

Information with violating Title 21, United States Code, Sections 846, 841(a)(l)

and 841(b)(l)(C).

      2.    The defendant has read the charge against him contained in the

Information, and that charge has been fully explained to him by his attorney.

      3.    The defendant fully understands the nature and elements of the crime

with which he has been charged.

                              THE AGREEMENT

      4.    The defendant agrees to waive indictment and enter a voluntary plea

of guilty to the Information, which charges him with conspiracy to distribute and

possess, with intent to distribute, a quantity of methamphetamine. The defendant is

aware that he has the right to have this felony asserted against him by way of grand

jury indictment. The defendant hereby waives this right and consents that this

offense may be charged against him by way of the Information. In return, the

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government agrees to move to dismiss Counts 1, 16 and 17 of the Third

Superseding Indictment in CR No. 19-00099 DKW as to the defendant after

sentencing.

      5.      The defendant agrees that this Memorandum of Plea Agreement shall

be filed and become part of the record in thi~ case.

      6.      The defendant enters this plea because he is in fact guilty of

conspiracy to distribute and possess, with intent to distribute, a quantity of

methamphetamine as charged in the Information, and he agrees that this plea is

voluntary and not the result of force or threats.

                                    PENALTIES

      7.      The defendant understands that the penalties for the offense to which

he is pleading guilty include:

              a.    A term of imprisonment ofup to 20 years and a fine ofup to

$1,000,000, plus a term of supervised release of not less than 3 years and up to life.

              b.    In addition, the Court must impose a $100 special assessment as

to each count to which the defendant is pleading guilty. The defendant agrees to

pay $100 for each count to which he is pleading guilty to the District Court's

Clerk's Office, to be credited to said special assessments, before the

commencement of any portion of sentencing. The defendant acknowledges that

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failure to make such full advance payment in a form and manner acceptable to the

prosecution will allow, though not require, the prosecution to withdraw from this

Agreement at its option.

               C.    Loss of Federal Benefits. At the discretion of the Court, the

defendant may also be denied any or all federal benefits, as that term is defined in

Title 21, United States Code, Section 862, (a) for up to five years if this is the

defendant's first conviction of a federal or state offense amounting to the

distribution of controlled substances, or (b) for up to ten years if this is the

defendant's second conviction of a federal or state offense consisting of the

distribution of controlled substances. If this is the defendant's third or more

conviction of a federal or state offense amounting to the distribution of controlled

substances, the defendant is permanently ineligible for all federal benefits, as that

term is defined in Title 21, United States Code, Section 862(d).

                            FACTUAL STIPULATIONS

       8.      The defendant admits the following facts and agrees that they are not

a detailed recitation, but merely an outline of what happened in relation to the

charge to which the defendant is pleading guilty:

            a. Beginning not earlier than May 2018, and continuing up to and

               including August 2018, Defendant JARRIN K. YOUNG agreed with

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         Jacob Smith, Timothy Taboada, and others, to distribute and possess,

         with intent to distribute, a quantity of methamphetamine, a Schedule

         II controlled substance, in the District of Hawaii.

      b. In furtherance of the conspiracy, YOUNG obtained distributable

         quantities of methamphetamine from Smith or Taboada and intended

         to further distribute the methamphetamine to others.

      c. On May 6, 2018, YOUNG was intercepted over a Title III wiretap of

         another individual's phone asking Smith for "two more" while parked

         in front ofTaboada's residence. Surveillance agents then observed

         Taboada come outside, approach the vehicle in which YOUNG was

         parked and hand something to Smith. Smith then gave YOUNG two

         "eight-balls" of methamphetamine which YOUNG intended to further

          distribute. An "eight-ball" is 1/8 of an ounce.

       d. On May 11, 2018, in a Title III intercepted conversation, YOUNG

          was intercepted telling Taboada he was coming to Kaneohe to pick up

          "two orange" for Smith. The "two orange" YOUNG was planning to

          pick up were two ounces of methamphetamine. In a later Title III

          intercepted conversation that day, Smith and Taboada agreed to "just




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               give him one", meaning for Taboada to give YOUNG just one ounce

               of methamphetamine.

            e. At all relevant times discussed above, YOUNG knew that the

               sub_stance(s) he possessed, with the intent to distribute, and conspired

              to distribute and possess, with intent to distribute, were all, in fact,

              methamphetamine.

      9.      Pursuant to Section 6B 1.2 of the Sentencing Guidelines, the parties

agree that the charge to which the defendant is pleading guilty adequately reflects

the seriousness of the actual offense behavior and that accepting this Agreement

will not undermine the statutory purposes of sentencing.

                          SENTENCING STIPULATIONS

      10.     Pursuant to CrimLR 32.l(a) of the Local Rules of the United States

District Court for the District of Hawaii and Section 6BL4 of the Sentencing

Guidelines, the parties stipulate to the following for the purpose of the sentencing

of the defendant in connection with this matter:

              a.     The parties stipulate to the facts as set forth in paragraph 8 of

this agreement.

              b.     The parties further agree that Defendant is responsible for 35

grams of a mixture and substance containing a detectable amount of

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methamphetamine based on the two "eight-balls" of methamphetamine Defendant

possessed, with intent to distribute, on May 6, 2018 (a total of 1/4 ounce or

approximately ?grams) and the one ounce ofmethamphetamine Defendant

possessed on May 11, 2018 with the intent to further distribute (approximately 28

grams).

             c.     As of the date of this agreement, it is expected that the

defendant will enter a plea of guilty prior to the commencement of trial, will

truthfully admit his involvement in the offense and related conduct, and will not

engage in conduct that is inconsistent with such acceptance of responsibility. If

all of these events occur, and the defendant's acceptance of responsibility

continues through the date of sentencing, a downward adjustment of 2 levels for

acceptance of responsibility will be appropriate. See U.S.S.G. § 3El.l(a) and

Application Note 3.

             d.     The United States Attorney agrees that the defendant's

agreement herein to enter into a guilty plea constitutes notice of intent to plead

guilty in a timely manner, so as to permit the government to avoid preparing for

trial as to the defendant. Accordingly, the United States Attorney anticipates

moving in the Government's Sentencing Statement for a one-level reduction in

sentencing offense level pursuant to Guideline § 3E 1.1 (b), if the defendant is

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otherwise eligible. The defendant understands that notwithstanding it~ present

intentions, and still within the Agreement, the prosecution reserves the rights ( 1) to

argue to the contrary in the event of receipt of new information relating to those

issues, and (2) to call and examine witnesses on tnose issues in the event that either

the United States Probation Office finds to the contrary of the prosecution's

intentions or the Court requests that evidence be presented on those issues.

       11.   The parties agree that notwithstanding the parties' Agreement herein,

the Court is not bound by any stipulation entered into by the parties but may, with

the aid of the presentence report, determine the facts relevant to sentencing. The

parties understand that the Court's rejection of any stipulation between the parties

does not constitute a refusal to accept this Agreement since the Court is expressly

not bound by stipulations between the parties.

       12.   The parties represent that as of the date of this agreement there are no

material facts in dispute.

                       APPEAL/COLLATERAL REVIEW

       13.   The defendant is aware that he has the right to appeal his conviction

and the sentence imposed. The defendant knowingly and voluntarily waives the

right to appeal, except as indicated in subparagraph "b" below, his conviction and

any sentence within the Guidelines range as determined by the Court at the time of

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sentencing, and any lawful restitution or forfeiture order imposed, or the manner in

which the sentence, restitution, or forfeiture order was determined, on any ground

whatsoever, in exchange for the concessions made by the prosecution in this

Agreement. The defendant understands that this waiver includes the right to

assert any and all legally waivable claims.

             a.     The defendant also waives the right to challenge his conviction

or sentence or the manner in which it was determined in any collateral attack,

including, but not limited to, a motion brought under Title 28, United States Code,

Section 2255, except that the defendant may make such a challenge (I) as

indicated in subparagraph "b" below, or (2) based on a claim of ineffective

assistance of counsel.

             b.    If the Court imposes a sentence greater than specified in the

guideline range determined by the Court to be applicable to the defendant, the

defendant retains the right to appeal the portion of his sentence greater than

specified in that guideline range and the manner in which that portion was

determined and to challenge that portion of his sentence in a collateral attack.

             c.    The prosecution retains its right to appeal the sentence and the

manner in which it was determined on any of the grounds stated in Title 18, United

States Code, Section 3742(b).

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                           FINANCIAL DISCLOSURE

      14.    In connection with the collection of restitution or other financial

obligations that may be imposed upon him, the defer:idant agrees as follows:

             a.    The defendant agrees to fully disclose all assets in which he has

any interest or over which he exercises control, directly or indirectly, including any

assets held by a spouse, nominee, or third party. The defendant understands that

the United States Probation Office (USPO) will conduct a presentence

investigation that will require the defendant to complete a comprehensive financial

statement. To avoid the requirement of the defendant completing financial

statements for both the USPO and the government, the defendant agrees to

truthfully complete a financial statement provided to the defendant by the United

States Attorney's Office. The defendant agrees to complete the disclosure

statement and provide it to the USPO within the time frame required by the United

States Probation officer assigned to the defendant's case. The defendant

understands that the USPO will in tum provide a copy of the completed financial

statement to the United States Attorney's Office. The defendant agrees to provide

written updates to both the USPO and the United States Attorney's Office

regarding any material changes in circumstances, which occur prior to sentencing,

within seven days of the event giving rise to the changed circumstances. The

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defendant's failure to timely and accurately complete and sign the financial

statement, and any written update thereto, may, in addition to any other penalty or

remedy, constitute the defendant's failure to accept responsibility under U.S.S.G §

3El.l.

               b.    The defendant expressly authorizes the United States

Attorney's Office to obtain his credit report. The defendant agrees to provide

waivers, consents, or releases requested by the United States Attorney's Office to

access records to verify the financial information, such releases to be valid for a

period extending 90 days after the date of sentencing. The defendant also

authorizes the United States Attorney's Office to inspect and copy all financial

documents and information held by the USPO.

               c.    Prior to sentencing, the defendant agrees to notify the Financial

Litigation Unit of the U.S. Attorney's Office before making any transfer of an

interest. in property with a value exceeding $1,000 owned directly or indirectly,

individually or jointly, by the defendant, including any interest held or owned

under any naine, including trusts, partnerships, and corporations.

                          IMPOSITION OF SENTENCE

         15.   The defendant understands that the District Court in imposing

sentence will consider the provisions of the Sentencing Guidelines. The defendant

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agrees that there is no promise or guarantee of the applicability or non-applicability

of any Guideline or any portion thereof, notwithstanding any representations or

predictions from any source.

       16.   The defendant understands that this Agreement will not be accepted or

rejected by the Court until there has been an opportunity by the Court to consider a

presentence report, unless the Court decides that a presentence report is

unnecessary. The defendant understands that the Court will not accept an

agreement unless the Court determines that the remaining charge adequately

reflects the seriousness of the actual offense behavior and accepting the Agreement

will not undermine the statutory purposes of sentencing.

                          ·WAIYER OF TRIAL RIGHTS

      17.    The defendant understands that by pleading guilty he surrenders

certain rights, including the following:

             a.     If the defendant persisted in a plea of not guilty to the charges

against him, then he would have the right to a public and speedy trial. The trial

could be either a jury trial or a trial by a judge sitting without a jury. The

defendant has a right to a jury trial. However, in order that the trial be conducted

by the judge sitting without a jury, the defendant, .the prosecution, and the judge all

must agree that the trial be conducted by the judge without a jury.

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             b.    If the trial is a jury trial, the jury would be composed of twelve

laypersons selected at random. The defendant and his attorney would have a say

in who the jurors would be by removing prospective jurors for cause where actual

bias or other disqualification is shown, or without cause by exercising peremptory

challenges. The jury would have to agree unanimously before it could return a

verdict of either guilty or not guilty. The jury would be instructed that the

defendant is presumed innocent, and that it could not convict him unless, after

hearing all the evidence, it was persuaded of his guilt beyond a reasonable doubt.

             c.    If the trial is held by a judge without a jury, the judge would

find the facts and determine, after hearing all the evidence, whether or not he or

she was persuaded of the defendant's guilt beyond a reasonable doubt.

             d.    At a trial, whether by a jury or a judge, the prosecution would

be required to present its witnesses and other evidence against the defendant. The

defendant would be able to confront those prosecution witnesses and his attorney

would be able to cross-examine them. In tum, the defendant could present

witnesses and other evidence on his own behalf. If the witnesses for the defendant

would not appear voluntarily, the defendant could require their attendance through

the subpoena power of the Court.




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             e.     At a trial, the defendant would have a privilege against

self-incrimination so that he could decline to testify, and no inference of guilt

could be drawn from his refusal to testify.

             f.     At a trial, the defendant would have a right to have the jury

determine beyond a reasonable doubt the quantity and weight of the controlled

substance charged in the Information necessary to establish the statutory

mandatory minimum penalty or an increased statutory maximum penalty.

      18.    The defendant understands that by pleading guilty, he is waiving all of

the rights set forth in the preceding paragraph. The defendant's attorney has

explained those rights to him, and the consequences of the waiver of those rights.

                         USE OF PLEA STATEMENTS

      19.    If, after signing this Agreement, the defendant decides not to plead

guilty as provided herein, or if the defendant pleads guilty but subsequently makes

a motion before the Court to withdraw his guilty plea and the Court grants that

motion, the defendant agrees that any admission of guilt that he makes by signing

this Agreement or that he makes while pleading guilty as set forth in this

Agreement may be used against him in a subsequent trial if the defendant later

proceeds to trial. The defendant voluntarily, knowingly, and intelligently waives

any protection afforded by Rule 1 l(f) of the Federal Rules of Criminal Procedure

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and Rule 410 of the Federal Rules of Evidence regarding the use of statements

made in this Agreement or during the course of pleading guilty when the guilty

plea is later withdrawn. The only exception to this paragraph is where the

defendant fully complies with this Agreement but the Court nonetheless rejects it.

Under those circumstances, the United States may not use those statements of the

defendant for any purpose.

      20.       The defendant understands that the prosecution will apprise the Court

and the United States Probation Office of the nature, scope and extent of the

defendant's conduct regarding the charges against him, related matters, and any

matters in aggravation or mitigation relevant to the issues involved in sentencing.

      21.       The defendant and his attorney acknowledge that, apart from any

written proffer agreements, if applicable, no threats, promises, agreements or

conditions have been entered into by the parties other than those set forth in this

Agreement, to induce the defendant to plead guilty. Apart from any written

proffer agreements, if applicable, this Agreement supersedes all prior promises,

agreements or conditions between the parties.

      22.       To become effective, this Agreement must be signed by all signatories

listed below.




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         23.   Shoul d the Court refuse to accep t this Agree ment, it is null and
                                                                                     void
  and neithe r party shall be bound thereto.

  AGRE ED:

  CLAR E E. CON NOR S
  Unite d States Attor ney
  Distri ct of Hawa ii


  <Jwl~                                  Dated : 10 /ti     /1, -i,
  KENNETH SORE NSON
  Criminal Chief

~~-
  MICH AEL D. NAM MAR
  W. KEAU PUNI AKIN A
  MAR K A. INCI ONG
  Assis tant U.S. Attor neys


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 JARR IN K. YOU NG
                                         Dated:    I   0:t. (,1,
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                                                                   $

 Defen dant



 WILL ' L. SHIP LEY, JR.
 Attor ney for Defen dant




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